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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF HAWATTI
UNITED STATES OF AMERICA, CR. NO. 10-00567 HG
Plaintiff,
vs.

BRANDON C. HALEAMAU,

Defendant.

CERTIFICATE OF SERVICE

I hereby certify that on August 30, 2012, a copy of the
foregoing document and all the attachments was duly served via
U.S. mail on the following attorneys to their last known

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